        Case 1:22-cr-00673-LAK Document 407-3 Filed 02/27/24 Page 1 of 4



<ØDbÐ·Ø1ØBV£VØ
7VbØHV¾¨\ØEÒ~VØP¾b`ØJ¾V¾b·Ø5Ç¥¼È·cØ
-&&ØIbV©ØK¾¨cc¼Ø
FcÐØT¦ ØGUØ)'&.(,)+Ø



7cV¨ØAÇ`}cØCV£V/Ø


MVØÒÉØw¡§Ø¾bØ££¨¾Ç¾ÒØ¾ØVÐØcØ½Ø·VÒØVØxbÐØÐ©_µØVZÇ¾ØÒØ· ØKVØ4VVÔ
8«b_ Ø¾~V½Ø>Ø[cbÎbØZcV©ØØVØÉ¹¾Ø¹b¾b^bØØ¾~·Ø^V·cØ

2¶ØVØ^~_ ØKVØV_Ø£ªb¹·ÎbØ£Ðb©·ØiØ}\ØV`Ø£c«·cÎc©Y^c ØV`ØÐV¸ØZÒØV¾ÇªbØVØÇ¾·`bÕ
¾c[ÑØ¿~c©Ø4Ç½ØcØV¸ØV_Ø·cØ^Vc}c·ØVÒØjØÐ^ØV«bØV·¸^V¼b`ØÐ¾Ø·cØiØ
¾·cØ·VcØ¹¾«c}¾~¸Ø>ØÐØ¨c½È´Ø¾Ø¾~cØV½Ø¾cØc`Ø4É½Øo¨·¾ Ø>ØÐÉ_ØbØ¾Ø¾VØV[È¼Ø¾cØ
ÐcØ£c¨· ½~cØKVØ>Ø~VÎcØÐV¾\c`Ø}«ÐØÇ£ Ø¸ÐÒØi_Ø~·cj ØV`Ø`c\`cØÐØcØÐV¾c_Ø
¾ØÎcØ·ØzØ

9¨ØVØcV©ÒØV}b Ø~cØÎc_ØV½~ØV`Ø^£^V¾b_Ø}Vc·ØV`ØÐV¾c`Ø¾Ø¾VØV[È½Ø½cØÐ«`Ø;cØ
ÐV·ØÇ^y¡«¾V[cØV©Ç_ØÀ~b§Ø\~_«bØV_Ø\``Ø£VÒ ØV`ØV·ØVØªc¹Ç¾ØÐVºØVØc«ØØVÒØ
¤hb©Ø¸^VØ·c¼¼}·ØÇ¾ØcØ}¾Ø¾Ø^b}bØ 4ÒØ¾cØ¾cØ~cØÐV¸Ø ¾cØ¨Ø¹ ØcØV`ØØ¾b¨b·¾Ø  Ø
V¾b©VØ}`·ØQcØÐÉ`ØV·Ø~ØÐ~V¾ØcØÐV½c_Øw¡¨Ø ~·Ø[ÁÂ`VÒØ©Ø6VÉV ØV`ØbØÐÇ`Ø
»VÒØ¾~}ØQcØc`c_ØÇ£ØV}¯fb}Ø]~V¾ØÐcØÐÇ`ÃØcb£ØV¹}Ø~ØV[Ç¾Ø½ØZÈ¾Ø¾~W½Ø~cØ
¶É_Ø½bØÇ·ØkØcØV`Ø\V}b`Ø·Ø`ØV`ØÐV¾c_ØVÒ¾}Ø <bØcÎc¨Ø``Ø

<bØÐV· ØÐcÎcªØVÐVÒ¹Ø¾b¨c·¾c_ØØ¾cØV¾c«VØ^_½¸ØlØ¾b¨Ø£b£b·Ø Ïh%×ØØ
£V²½^ÉV«Ø¾·cØV°Ç`Ø¾bØÐ«_Ø·½Ø`c·£c«V¼cÒØØbb` Ø <bØ¾ØVØZØØQVØK¿¬cc¾Ø¾ØcV±Ø
½Ø}ÎcØV`ØÇ¼V¾bÒØck¾ØQVØK¾«gc¾Ø¾ØÐ¨ØsË½bØ|«ØcØlØ¾bØ^V«¼c·ØcØV_Øc£c`Ø
mÈ`Ø=cØÐ¨©c_Ø¾É} Ø¼~V¾ØÐÄ~È¾Ø~·ØVÇVØ`V¾· Ø¾~cØ^V«½ÒØÐÈ_Ø~VÎcØ¾«Ç[cØ
V}Øc`·Øbb½Ø<bØ·¾V¨½c`Ø½«V`}Ø\«Ò£¾^Çd^ÒØØ¾~cØ·_cØ¾Øb£Ø·È££©½Ø¾cØ\V«ÅÒ Ø3·Ø¾Ø
~V££bc_ ØbØÐV·Ø·Ø·È^^c··rÈØ¼©Y`}Ø½V¼ØbØV}VØ`b^_c`Ø¾~V½Ø~·Ø~}~c·¼ØV_Ø[c¸½ØÉ¹cØÐV¹Ø
½ØÐ¨}Ø`©b^¾ÒØn©Ø½cØ\~Vª¾ÒØ[Ç¾Ø·½bV_ØV·ØVØtÌ`c¨ ØV_Ø_c\`c`Ø½Ø}Ø¾Ø[Ç·c¹¹Ø{«Ø
¹co"ØN·ØÐV·ØVØ£V¾Ø?ØcÎc«ØV}b_ØbØÐÇ`Ø½Vc!Ø

3¸Ø>Ø_¸\É··Ø©cØ[cÐ ØÐbØªÇ}Ø  KV·Ø£ªV«ÒØ{^Ç¹ØÐV»Ø[È·b··0ØbØÐªc`Ø`VÒØ
V`Ø}~Å#Ø 4É½ØbØ\½Çb_Ø¾ØÐ©ØØ\~V«¾ÒØZ½~ØV·ØVØuÍ_b©ØV`ØV·ØVØV\¼ÎbØ£V©¼^£V¾ØØ
`c\·V}"ØLVØ¨}VÓb` Ø£V©¾^£V½c_Ø ØV`ØÇ¾V¼bÒØkÇ_c_ØVØ}«Ç£Ø¾~V¾Ø·Ø\V¨«Ò}Ø
Ç¾Ø}¨Ç_ZªcV}ØÎV^^bØ¾«V¸Ø¾V¾ØVÒØ^V}bØ¾bØwX^bØpØ£V_b\Ø£¨cÎc¾ØV`Ø¾cØ
£¨cÎc¾ØV_Ø¾«bV½b¾ØqØ½c¨Ølc^¾È¹Ø`¹bV·b·ØV¨È_Ø¾~cØÐ«`Ø

>Ø+&++ Ø>Ø¾ØVØÒbV­·ØcVÎcØjØVZ·c^bØl³ØÒØK½Vt¡«`Ø[Ø¾ØÐ©ØØ¾c«Ø£V¾~§£^Ø
£§c\¾·ØÐª¾ÒØnØvÌ`}Ø[ÒØ9NR"Ø EÒØÐØÐ©Øt¢\Ç·c`ØØc_Ç^V¾ØV`ØcV½Ø^V¨c ØV¨eV¸Ø
 ØÐ^Ø>ØVÎbØZ¾ØcÑ£c«c^cØV_ØVØ·¼¨}Ø£©kc··VØ¾c¨c·¾Ø@ØÎc_Ø½¸ØÐ«ØW_Ø^Ç_Ø
}ØØV`ØØVZÇ¾Ø½~bØ£«·}Ø£V¾ÊÖ£^Ø£® c\¼·ØÇ`b«ÐVÒØV½Ø¼cØ¾bØo:OS¸Ø
£·ØZÉ¾Ø>ØVØ`kÇØrØ¾cØ^Ç*Æ¸Ø½bØØ¨cV`}Ø¾~·Øa^Çc½$Ø

                                                 

                                                                                           Ex. A-2
        Case 1:22-cr-00673-LAK Document 407-3 Filed 02/27/24 Page 2 of 4




CMÔM³Ô³Ã¢¢¤¹ZYÔZbh¤ºÓÔ¾Ô¥ZMÑZÔ¾}ZÔ¢»Z¾OÔbÔOÔY{¾NÔiM³¾¤ÃW¹Ã¤ZÔf¡¤ÔZÐÔ¾¤O³f_¥³Ô
¾Ô¢Z¢ZÔÔ¹}ZÔ¢¤Z³¹Ô¢M¥¹³ÔbÔ>}ZÔÌ¤YÔ@ZÔ¢¤ZW¾ÔËËZYÔ¤Z¼¹MWZ³ÔW¤³³T¤YZ¤Ô
¾¤O³s`¤¸ÔbÔZÐ Ô{ZZ¦MÐÔg¥ÔW~Y¥ZÔÔMÔÌZM¹}ÐÔWÃ¹¥ÐÔ¹Ô¢M¤Z¹³ÔÔOÔ¢¥Z¥ÔWÃ¹¤ÐÔ
D}ZÔ¤ZW¢Z¹³ÔYÔ¹Ô~OËZÔTMÔMWWÃ»³Ô¹Ô¹¤O³h\¤ÔbÄY³Ô»ÔB{}¾ÔÌ Ô¹}ZÔ³ZYZ¤Ô¹Ð¢WOÐÔ
{Z±Ô¼ÔOÔW¢OÐÔ³ÃW}ÔM³ÔIZ³¼Z®Ô F Ô¢OÐ³Ôb¥Ô¹}ZÔ¤Z¹¾OWZÔ¹}Z¤Z ÔOYÔ¢O¤Z¹³Ô¢WÔÃ¢Ô¾}ZÔ
ZÐÔjÔMÔIZ³¾Z¥ÔGÔcvWZÔÔ¹~Z¤ÔÌÔWÃ»¤ÐÔE}ZÔ¢¤WZ³³Ô³ÔZÍ¢Z³-ËZÔMYÔ¹ZÔ
W³Ã{ÔH³{Ô¾³ÔW¤Ð¢¹WÃ¤¤ZWÐÔh¨O³½§ÃW¹Ã¤Z Ô5oJÔZ±¾M¹ZYÔ¹ÔWÃYÔbbZ¤ÔkZZ Ô
±»O¹OZÃ³Ô¹¤M³h]¤³Ô¤ZWZËMTZÔÔWOÔWÃ¤¤ZWÐÔM¹ÔOÔOÔW³¹Ô?AÔ¾³ZdÔ 1ÔSZ¹OÔËZ¤±ÔeÔ
¾}±Ô¢¥{¥MÔ grZ¦{ÔlZZÔ¤Z¹¹MWZ³ÔTZ¾ÌZZÔ¹}ZÔFCÔOYÔ.0ÔWÃ¾¤Z³ÔÔ2t¬WMÔÌO³ÔOTÃ¼Ô
¾ÔTZ{ÔO¹Ô¾}ZÔ¹ZÔfÔ»~ZÔTO¤Ã¢¹WÐ Ô :ÔÌO³ÔÃWÐÔZÃ{}Ô¿ÔTZÔMUZÔ¹ÔÌ¤ÔÔ¹}³Ô¢©ZW¹ÔMYÔ
ÌÃYÔ}MËZÔ¤Z{O¥YZYÔ»³Ô¢ZZ¾M»ÔM±Ô¹}ZÔ³¹Ô³WMÐÔËMÃMTZÔ¹~{Ô;Ô}MYÔYZÔÌ¹}ÔÐÔ
t_Ô

2¹~Ã{~ÔCOÔ³¹M¥¹ZYÔ7=KÔM³ÔMÔÌOÐÔ¾ÔZO¯Ô ¾Ô{ÊZÔ}ZÔZËZ¤Ô³OÌÔ»~ZÔTÅ³Z³³Ô³ZÐÔM³ÔMÔZM³Ô
¹ÔMÔZYÔ¾ÔmÉYÔ{YÔÌ¤³!Ô6¤Ô¾}ZÔZ¹¤Z¹ÐÔbÔ5pL³ÔZÎ³»ZWZ Ô }²Ô»ZÔÌM³Ô¢¤Z¹¾ÐÔÃW}Ô
W³ÃZYÔÌ¹}ÔUÃY{Ô¹}ZÔW¢OÐÔÌ~X~Ô WÆYZYÔW¤ZM¾{ÔOÔ³WOÔZË¥Z¼Ô»}O¹Ôz³»Z¤^YÔ
W¤^O¹Ë¹ÐÔOYÔZ¹Ô¾~ZÔZZY³ÔdÔZ¢ÐZZ³#ÔCÃTZW¾Ô¾Ô¹~ZÔW¥ZM³{ÔYZMY³ÔÔ}±Ô¾ZÔO±ÔOÔ
34@ÔbÔMÔ¥M¢YÐÔ{¥Ì{ÔTÃ³Z³³ Ô}ZÔ»¤ZYÔMÌOÐ³Ô¹ÔTZÔ¹~Z¤ZÔn ¥Ô}³ÔZ¢ÐZZ³$ÔD}ZÔW¢MÐÔ
ÌO³Ô}Ã³ZYÔÔMÔbf WZÔ¢M¤ZÔW¢ZÏÔÌ¹}ÔOÔÃVZ¥ÔbÔWZW¼ZYÔ¤ÔOY{ÔUÃY{³%Ô
CMÔÌ¤ZYÔÔ¾}ZÔTÃ³Z³»ÔUÃY{ÔÔMÔYZ³ÔZÎ¾ÔÔYÒZ³ÔgÔ¹~Z¥ÔYZ±³&Ô8ZÔ}OYÔÔeuWZÔ
OYÔÔ¾}Z¤Ô¢Z¥³OÔ¢Z¤³'Ô ;¹ÔÌM³ÔMÔTM¤ZTZ³Ô¢MWZÔÃW}ÔZ³³ÔM¹¹¤RW¹ËZÔ¾~OÔ¹~ZÔ»Ð¢WMÔ
Ì¥¢MWZ³ÔÔMÌÔf¤³ Ô{ËZ°Z¾ÔfrWZ³Ô¥ÔÃËZª·¾Z³ ÔMYÔ³¹ÔTÃ³Z³³Z³ ÔUÃ¹Ô»ÔÌM³ÔÔ
ZZ¢{ÔÌ¹~ÔCM³ÔW»Z¹Ô ¹ÔZ{O¾O¥O³ÔMYÔgMW¹M¹ZYÔ {O³Ô¹}M»ÔÌZ¤ZÔMÔ}{~Ô¢¥¤¹ÐÔ
¹ÔCO(Ô

D}ZÔebWZÔOÐÃ¾ÔÌM³ÔO³ÔYZ±{ZYÔ¹Ô{ËZÔMÐÔZ¢ÐZZÔMWWZ³³Ô»ÔCO'Ô CMÔÌM³ÔMÔ{¤aO¹Ô
³¹ZZ¤ÔOYÔ¾¤ZM¾ZYÔZ¢ÐZZ³ÔZÔqMÐ)Ô8ZÔÌO³¹Ô{YÔM¾Ô³MÔ¹MÔMYÔÌM³ÔZÐÔ»ÔÔ
YÌÔ¤ÔOÌMÐÔÌ~ZÔ~ZÔ±¢ZÔ¹~ZÔTÃ¾ÔZ¢ÐZZ³ÔZÌÔ~ZÔÌO³¹ÔY³³{Ô¹~Z&Ô D}M¹³ÔÃ±¼Ô
¾~ZÔÌOÐÔ}ZÔÌM³*Ô 8ZÔ¢MYÔZ¢ÐZZ³ÔÌ}M¾Ô}ZÔ¹~Ã{~¾ÔÌM³Ô¹~Z¥Ô¤{}¹bÃÔWÀ¤TÃ¹Ô¹Ô¢¥b¹³Ô
Ì}W~ÔÌO³ÔO³»ÔMÌOÐ³Ôw¥ÔOTËZÔÌ~M¼Ô¹}ZÐÔWÃYÔ}OËZÔZO¥ZYÔZ³ZÌ}Z¤ZÔOYÔÔOÐÔWM³Z³Ô
ÌÃYÔ}OËZÔM³ZYÔh¥Ô»~Z³ZËZ³ ÔMYÔÌ~ZÔ¹}ZÐÔWOZÔ¹Ô~ÔÌÀÔ¢Z¤³MÔ¢«UZ³Ô}±Ôu ¤³¹Ô
MYÔÃ³ÃMÐÔM³¹Ô¢Ã³ZÔÌO³Ô¹Ô{ËZÔ¾}ZÔÌ}M¹Ô¾}ZÐÔZZYZYÔÌ¹}Ã¹ÔM³{ÔMÐÔ£ÃZ³¹³+Ô

8ZÔ¾¤ZM¾ZYÔ¾~Z¤Ô±¾MZ~YZ¤³ÔÔ¹}ZÔTÃ±Z³³ÔÌ¾}Ô³M¤Ô¤Z³¢ZW¹#Ô 9ZÔYYÔWÃ³¹Z¤Ô³Z¤ËWZÔ
}³ZbÔMYÔ{MËZÔZ¢ÐZZ³Ô³ÇÈW¹³Ô ¥Z³ËZÔMÐÔ¢MÃ³UZÔW¢O¾³ÔÔ¹~ZÔWÃ´¹Z¤³Ô
rMË§ÔZËZÔeÔ»ÔW³¹Ô¹~ZÔW¢MÐÔOÔÁ¤ËMÔOÃ¾ÔdÔZÐ,Ô8ZÔO³ÔTZZËZYÔÔhP¤ÔYZO{Ô
ÔZ{¹O»³ÔÌ¾}Ô¾}Z§³'Ô 8ZÔÌÃYÔ{ZZ¤MÐÔYZWYZÔÌ}M»ÔOÔx¤Ô¢¤WZÔÌO³ÔZÏ¢OÔÌ}ÐÔ}ZÔ
¹}Ã{~»Ô¹ÔÌOµÔbQ¤ÔMYÔ±¹WÔ¾Ô»Ô 8ZYÔ³¹­ÃW¹Ô~³ÔMÌÐZ¤³Ô¾Ô¾Ô¢¤a³³Ô¥Ô³³ÃZ³ÔÔ¤ZOW~{Ô
O{¤ZZZ¹³ÔÌ¹}ÔWÃ¼Z¤¢O¥¹Z³Ô

D~ZÔW¢OÐÔÌZYÔ¾~ZÔ¹¢ÔÂ¤ÔbÔOÔM¢M¥¾Z¾ÔW¢ZÏÔZM¤Ô¾}ZÔbgWZ!Ô <¹Ô}Ã³ZYÔZ{}¹Ô¤Ô³Ô
bÔ¾}ZÔ¾¢ÔZ¢ÐZZ³ÔMYÔ¾~Z¥Ô¢M¥¹Z¤³ ÔOYÔ³Z¥ËZYÔT¹}ÔM³ÔMÔr¡¤OÔ}ZOY£ÃO¤¹Z¤³ÔfÔ³¤¹³ ÔOÔ
¢MWZÔ¹ÔZ¹Z¤¹MÔ¢¥³¢ZW¹ËZÔTÃ³Z±³Ô¢O¤¾Z¤³ ÔMYÔOÔ{O¹}Z¤{Ô¢MWZÔc¡¥ÔZ¢ÐZZ¶Ô¹Ô¥ZOÎ ÔZO¾Ô
YZ¥Ô¾|Z¹~Z¤ÔÃ±ÃMÐÔWZYÔTÐÔCMÔ OYÔ¢MÐÔ W¢WM¾ZYÔ TO¤YÔ{MZ³ Ô¹}ZÔYËZ¤³ÔgÔ
W}WZ(Ô ;¹Ô ÌM³Ôy³¹ZYÔÌ¹}ÔW¢Ã¹Z¥Ô³W¤ZZ³ÔMYÔYZ³³ÔMYÔf¤ÔZÔÌZZÔ¹~ZÔZ¹¥[Ô

                                                  /Ô

                                                                                             Ex. A-2
        Case 1:22-cr-00673-LAK Document 407-3 Filed 02/27/24 Page 3 of 4



£®pªJtpÝ·ÀJ^hÝÏ·USÝtÀÝ k®ÝJÝ8JR}JÀq$ÝCJÝ~tÔUSÝuÝ JSÝ ¢JuSÝ§TÁÝ[¡§ÝÀqJÀÝ¢®tÔt~UpTÝ Z¡¨Ý
·t×ÝÁq·JQÏÀÝqJ~ZÝ[ÝÂqUÝÀtTÝqTÝÖJ·ÝtÝÀqUÝ3JqJJ·Ý5ÔUÝÖqUÝqTÝÖJ·ÝdjuRuJ~~ÙÝtÔtpÝuÝ
ÂqUÝJ¢J®ÀTÁ ÝqUÝÖJ·Ý§UÝ~t}TÙÝÀÝPTÝeÏSÝU·UÖqU§TÝ \ÀTÝ·~UT£tpÝÝJÝPUJÝQJpÝRqJt®ÝuÝ
ÃqUÝ\jtRTÝAt}TÝUÔU§ÙÂrtpÝJPÏÁÝ CJ ÝÀqJÁÝÖJ·ÅÝJÝJ\iURÁJÀt$Ý 8TÝ|Ï·ÀÝST·ÀÝRJ©VÝJPÏÁÝÀqUÝ
R§UJÀÐ®TÝR_§À·ÝÀqJÀÝ·ÁÝ\ÝÐ·ÝÔJÏUÝ 9TÝt·Ý¸tt~J«~ÙÝÐvÁT§T·ÀTSÝtÝqQQQupÝÖuÍrÝÀqUÝ§uRqÝ
JSÝ`MÐ·ÝJSÝpUU§JÙÝÐRd§ÀJPTÝÖvÀqÝJÁÀUÁuÝ8UÝSvSÝÖqJÁÝqTÝÁqÐpqÁÝqTÝqJSÝÃÝSÝd§Ý
ÀqTÝpSÝ]ÝÀqUÝR£JÙ Ý [ÀTÝJÁÝ·UÝ·tpt^tRJÄÝ¢T§·J~ÝR·ÀÝÀÝqv·U~\$ÝHqJÀÝ·¢UÀÝÝ
KSÕT§Àt·tp ÝÅ®JÕU~ÝJSÝqÐ·tpÝt·ÝtÝ~tUÝÖtÃqÝÖqJÀÝR£J®JQ~TÝÏÁuPu~~tÝS~~J®ÝR¤JtU·Ý
·£US ÝJSÝJÝ·J~ÝaJRÁtÝ^ÝÖqJÁÝJ)*ÙÝSÝ·¢TSÝ7®ÝJÙUÝÖqÝ}Ö·ÝCJÝÂsUÝ££Ï~J§Ý
£©Æ¬JÙJ~Ý\ÝqtÝJ·ÝJÝqtpq®~tpÝRU~UQ§tÀÙ·UT}tpÝ46BÝS§tÔUÝQÙÝpªUTSÝt·Ý·t¢~ÙÝQuÚJ§§UÝ

<ÝJÝÎsUÝ·Ý\ÝJÝ·JÝ PÐ·uU··JÝJSÝÀ~SÝCJÝÖqJÅÝ PU~tUÔUÝÙÝbNÀqT§ÝÖÏ~SÝqJÔUÝÀSÝqt.Ý
ÁJ}UÝ·UÝTÙÝÐÀÝc§ÝÙÐ®·U~\ÝJSÝ¢ÐÀÝtÄÝ·TÖqU§UÝ·J\UÝB§ÝQÏÙÝ·TÀqtpÝ·£TRtJ Ý·ÝÙÏÝ
RJÝT|ÙÝ~tdYÝ§TÝBÀqU§·ÝtRÏSupÝ¹Ut§ÝRÑ·U~ÝÁ~SÝCJÝÅqUÝ·JTÝÀqtpÝ 0RR§StpÝÀÝ
UÝPÒ·tU··Ý|Ð³JÝQÙÝ  CJÝqJSÝJÝTÅÝÖ®ÀqÝ\Ý§UÝÁqJÝ Pt~t Ý:TÝRÏSÝUJ·t~ÙÝ
qJÔUÝ·~SÝJÝQt~tÝS~J®·ÝÖÇÈqÝ]Ý·ÀR}!Ý:UÝÖÐ~SÀÝSÝÁqJÁ ÝÁqÐpqÝ:UÝÖJÁUSÝÃÝUJÔUÝ
TÕT§ÙÝ¢TÙÝtÝÂqUÝQÏ·uT··ÝÅÝdzJRUÝtÀ·Ýp§ÖÀqÝ;UÝqJSÝJÝ·JJ«ÙÝ\Ý ÖqtRqÝÖJ·Ý®TÝ
ÀqJÝTÒpqÝ  qv·Ý¢U§·JÝR·Ð¥ÁtÝUUS·Ý 8TÝqJSÝÁqtpÝ·J~ÉUSÝJÖJÙÝÖqUÝÁqUÝR§LÜqÝ
RJT"Ý

3J¬QJ§JÝJSÝ(ÝºÁJÙTSÝÖuÁqÝCJÝ wÝÁqUÝ3JqJJ·Ýk ®ÝqUÝÀqÝo~ÖvpÝÀqTÝR~J£·TÝJSÝ
ÖtÃU··USÝ\{®·ÀqJSÝqt·Ý·tpUtSTSÝeR·ÝÝpUtpÝUÙÝPJR}ÝÁÝST¢·uÊ®·Ý pÝJ^ÀU§ÝÀqU®UÝ
ÖJ·ÝJÙÝ¢··tQutÁÙÝqUÝÖÏ~SÝQUÝJQ~UÝÁÝ·JÔTÝJÙÝ^Ýqt·ÝU¦ÏuËÙÝ§ÝÖUJ~ÀqÝ 1QÁÝJÝÖUU}ÝJhÉU§ÝÁqUÝ
u¢~·tÝCJÝJSÝ ÖU§TÝ·£UJ}upÝÁÝJÝ£±·¢URÃuÕUÝSUgX·UÝRÐ·T'ÝEqUÝ~JÖÙU­ÝÖJ·ÝJpqJ·ÁÝ
ÖqUÝCJÝÃSÝqtÝÁqJÝqUÝÖJ·Ý·£UStpÝJ~~Ý]Ýqu·ÝÂu+),UÝÖ§}tpÝÖtÁqÝÁqUÝ3JqJtJÝpÔU§UÀÝ
ÃÝpUÁÝST¢·tÀ®·ÝÂqUt®ÝUÙÝQJR}#ÝFqTÝ~JÖÙU§Ý·À§p~ÙÝJSÔt·TSÝCJÝÁÝeRÏ·ÝÝqt·ÝSU^U·UÝ
2®UÝÙÝJÖJ§UÝJ·}USÝÀqTÝJÖÙT® ÝÀqJÌÝUÕUÝJ·ÝÖUÝ·¢TJ}ÝÀqT®TÝt·Ý¢§QJQ~ÙÝJÝ«Ý\ÝQ§tpqÁÝ
qJ§SÖ®}vpÝJSÝJQtÀtÓ·Ý¢T¢~TÝ·UÖqU®UÝÖq·TÝpJÝv·ÝÀÝ£ÏÀÝÙÏÝxÝ|Jt~/Ý

IÏ£ÝJ·ÖU«USÝCJÝJSÝÀqJÁ ·Ý¢§UÀÌÙÝÐRqÝt®®T~TÕJÀÝÀÝUÝR¢J®USÝÀÝqU~£tpÝST¢·tÀ§·$Ý

=Ý¯TRptÛUÝÁqJÀÝÀqUÝCJÝ>ÝqJÔUÝSU·R§tQTSÝt·Ý·Á§p~ÙÝJÍÝSS·ÝÖtÅqÝqÖÝÁqUÝ¢ÐQ~tRÝ·TT»ÝquÝJSÝ
JÙÝ·UUÝÐQUvUÔJQ~TÝÀÝÀqUÝ§UJSU²¾Ý[ÝÀqt·ÝTÀÀT§ÝtRÐStpÝÅqt·ÝRÐ§À#Ý ?ÝRÏ~SÝJSSÝqÏS®US·Ý^Ý
ÃqU®ÝU×J£~T·Ý[Ýqt·Ý}tSU··ÝJSÝpUÏvTÝ JSÝSUU¢ÝRRU´Ý m§ÝÁqU°·ÝQÏÀÝ@ÝÀÝ·Ð­TÝqÖÝ
ÏRqÝSt[fT§URTÝÀqTÙÝÖÐSÝJ}TÝJSÝStpÝ·ÝÖÐ~SÝ·Ð®U~ÙÝÅ®ÙÝÁqUÝ£JÁtTRTÝ\Ý®UJSU§·"Ý Öt~~Ý
JSSÝ ÀqJÁÝÖT®TÝÁqTÝ·RuJÝR·À·Ý^Ý·JÙtpÝJÙÅqtpÝ¢·tÀtÔUÝJQÐÁÝCJÝJÂÝÀqt·ÝUÃÝuÝÀtUÝ
ÀÝ¢§qvQtÀtÔU Ý =ÝJµÝRlSUÀÝJÙÝÀqT§»Ý ÖqÝqJÕTÝ}ÖÝqtÝ Áq§ÏpqÏÄÝqt·ÝteXÝÖÏ~SÝ
ST¿R®vPTÝÏRqÝqUÝ·JUÝ¢T§·Ý

ÖKÀÝÖÝÀÝ§UÃÒ´ÝÃÝÀqTÝRqJ~UpU·Ý?Ý§UdX§§WSÝÀÝJÀÝÅqUÝ·ÄJ®ÀÝJSÝÀqUv§Ýt¢~tRJÀy·Ýn®Ý
·UÃURtp Ý CJÝqJ¼Ý·À«ÏppUSÝÀq®ÐpqÏÀÝqt·Ý~t[UÝÀÝUJ®ÝJSÝRÀ¶~ÝÀqvp·Ý·ÁÝ\ÝDÝÁJ}UÝ^®Ý
p§JÃUS Ý·ÏRqÝJ·Ý TÙUÝRÀJRÁÝ·J~ÝÃJ} ÝJSÝ§T·¢StpÝÀÝ·RtJÝRÏU·$Ý

GqU®UÝu·ÝJÝ¢·tÀtÔUÝ·tSUÝÁÝÅqt·Ý·Á¯Ðpp~TÝ CJ ·Ý~t^UÝUØ£U§tURTÝqJ·ÝJSTÝqvÝÍ~TªOÍÝ^Ý
StÔU¬½tÁÙÝtÝÀqTÝÖJÙÝ·ÅÝ^ÝÐ·ÝRJÀÝQT%Ý CJÝqt§USÝU¢~ÙUT·ÝÖtÀqÝRÏtRJÁtÝ
St^^uRÏÀtU·Ý·Ýp§TJÀÝÀqJÀÝÁqUÙÝRÏ~SÝÀÝÀqT§Öt·UÝpTÁÝ§Ý}UU¢ÝJÁqU§Ý|Q&Ý §TUQU§ÝqtÝ

                                                 -Ý

                                                                                          Ex. A-2
        Case 1:22-cr-00673-LAK Document 407-3 Filed 02/27/24 Page 4 of 4



¢Qwwie³}R³BFª£³~R³¢BOP³®f³Zi£³£fB¢³NRJh¤h³ 1P³GiuwiB£³G¨£³fRww³Oj­P³Q­Q°GO°³
RwR³ª£³;B}³CjN³³fR wu³®s³w°³®k¤f³}R³ -³/BGBB³fB³®h£¤Q³;B}³®B³R³BG©£³
}P³U³fh³®³}R¢Bu³fRBw£f³£ªeeuR³BO³fhQO³B³°JfhB£j¢³¢³fRv³LBKf³R}w°PQ³®h£f³
R}¢iBw³mªR³ -wB}QOB³BN³0>@³fCN³C³Ni­RR³eª³V³R}u°RR³ h³eQNQ³BJQ³
B£hBwh£°³BO³JfBCJ¢R³£Bm£³ <fQ³L}ChP³ R}w°RN³}R³W³¤fQ³}¤³R¯£­P¢RO³PxR³2³
fB­R³R­R³s®³ /ª£³£fR°³®RR³Cu³B³fC­R³c³£fR³®j¢f³®f³ \³PB³fB­he³£fhe³£³
O³®h£f³£fRh³BHhwh£hR³®ªwO³GR³NQR}RO³£³OO³³®RhN³£³®s³®h£f ³

-³£fR³J}B°³eR®³;B}³®B³¢f¨£³}R³BO³}R³j£³¢fQ³ªHuhJ³P°R³BO³BsRO³¤³ej­R³
f©OQN³ X³h£P­iR®³B³}£f!³?fR³fR³BeRRO³£³O³£fR}³JfBBJ£Ph£lJBwu°³fR³sR³­Q°³
ªiJsw°³BO³eB­R³we³J }wiJB£PO³B®R³®fR³fQ³¢fªef¢³£fC£³®C³®fB£³wehL³P©hRO³CO³
B®R³£fB¢³®RR³qBhew°³f¢³ B³ªmJs³fC³ °© ³£fP®iR"³ 1R³JªyO ¢³Bw®B°³}BBeR³
fh³eR£ªR³R°R³L¢CJ£³³¢R³Y³­hJR³<fR³R³OiO £³JBR³¤fªef³B³4e³B³fP³£BwtRO³
BG©¢³HªhR#³1Q³®C³R¯¤R}Rz°³®SBw'£f°³BN³£fB¢³}BOR³R­R°£fie³fR³BhO³Rª}£i­Ru°³
JRJ¢³8W£R³h£Q­hR®R³ROh£RN³©¢³fi³J¬R¢³BGª£³JfBh£°³B³ªh¦QQ¢he³³
ªh}£B¢%³

8JR³¢fR³ J}C°³JBfRN³BN³fh³®QBw£f³®C³eR³RwP³GQJB}P³uR³`eh­he³BN³fC­Q³
i£RR£PO³¢fRR³B}R³JfBBL£Rj¢jJ³ wBJs³Z³R°Q³M¢CM£³NO³eR¤ªR³B®R³¢fB£³RQ}³£³
we³³¢³f§³R£L³B³C³je³[³OjRRJ£³R­Ci³³w°he$³

.³NBJiB³R£RJQ³®©{O³whsRw°³uRBN³69³C³uBLQ}R¢³h³B³fhef³³B¥³FR¤³}POjª}³ RJ¨h¢°³
h ³ ;©Jf³B³Q¤¢he³®ªuO³ª£³;B}³m³C³Q­h}R£³®fRR³fi³RQ ³£³JiBu³JªR³®juw³
}R¢h}R³HQ³QR³B³NO³iBjB£T³BN³OhRRJ£]«w*³®fR³¢fB£³fBQ³fR³®iyw³IR³h³
nehUnJC£³f°hLBw³OBeR&³ 7¢fie³fQ³fC³OR³JB³r©£hY°³ª||oe³fh}³B£³£fB£³it$³

;B}³fD±³Q­R³ª³Baªy³[³¢fR³wC®³h³fi³uib³©£hv³®³BN³3³N³¤³GRuhR­R³¢fRR³h³B°³
hGhwh£°³fR³®©wN³Q­R³eR¤³JuP³£³£fR³uhR³i³¢fQ³[ª£ªQ³ :JR³^RR³ fQ³gE¡³¢fP³£Q£hCw³£³
HQR_h£³¢fR%³ <fB¢³ m³Cuu³fR³fB³R­R³®B¢QO³¢³N&³

                   +³ ph³
=fBs³°ª³d³°ª ,hOR

       
                    )

-wwB³5³
       ²³  f³/Bs}B³




                                                  (³

                                                                                             Ex. A-2
